      Case 1:08-cr-00053-RP-RAW Document 655 Filed 07/05/17 Page 1 of 2



                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF IOWA
                                   CENTRAL DIVISION



TIRAN RODEZ CASTEEL,                              4:14-cv-00123-RP

            Movant,

vs.

UNITED STATES OF AMERICA,                             ORDER

            Respondent.




TIRAN RODEZ CASTEEL,                              4:14-cv-00124-RP

            Movant,

vs.

UNITED STATES OF AMERICA,                             ORDER

            Respondent.


                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF IOWA
                                   WESTERN DIVISION



UNITED STATES OF AMERICA,                         1:08-cr-00053-RP

            Plaintiff,

vs.

TIRAN RODEZ CASTEEL,                                  ORDER

            Defendant.
      Case 1:08-cr-00053-RP-RAW Document 655 Filed 07/05/17 Page 2 of 2




          All district court proceedings and proceedings from the Court of Appeals are complete,

and the cases are closed. Previously, Tiran Casteel sought, and the Court granted, an order

directing that any remaining physical evidence be preserved as Casteel applied for a writ of

certiorari from the United States Supreme Court. Citing the local rules of the district, the Court

ordered that no evidence should be destroyed or returned to the parties until the case was fully

resolved. See United States v. Casteel, 1:08-cr-00053-RP (S.D. Iowa) (“Crim. Case”), ECF No.

644. Here Tiran Casteel asks the Court to modify its pervious order to include preserving

evidence beyond any Supreme Court review. The Government has filed no response to the

motion.

       Casteel argues he needs this DNA testing to prove his innocence. He submits a letter

from the Midwest Innocence Project which states it has agreed to review his case. See Exhibit at

1, ECF No. 649. While the Project has agreed to review the case, it has not agreed to take the

case. It also informed Casteel that the wait could take at least five to seven years before he will

know the outcome of the review. Id.

       Casteel does not state the status of his petition for writ of certiorari by the United States

Supreme Court. He does not state what specific evidence he seeks to preserve in order to be

tested for DNA. Nor does Casteel explain how such DNA results would show he was actually

innocent of the charges.

       Without any specificity as to what or how the information would be necessary to

demonstrate innocense, the Court denies Casteel’s motion (ECF No. 649) to modify or amend

its prior order.

       IT IS SO ORDERED.

       Dated this ___5th___ day of July, 2017.
